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     EXPERIAN INFORMATION
16   SOLUTIONS, INC.
17
                           UNITED STATES DISTRICT COURT
18
                         CENTRAL DISTRICT OF CALIFORNIA
19
20   TRACY SULLIVAN
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22                                           CASE NO.: 8:12-cv-02043-JLS-AN
                           Plaintiff,
23                                          XXXXXXXX ORDER GRANTING
                                            [PROPOSED]
     v.                                       VOLUNTARY DISMISSAL OF
24                                           PLAINTIFF’S CLAIMS AGAINST
     EXPERIAN INFORMATION                      EXPERIAN INFORMATION
25   SOLUTIONS, INC., et al.                      SOLUTIONS, INC.

26   Defendants.

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           GOOD CAUSE APPEARING THEREFORE, it is HEREBY ORDERED THAT
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     the above-captioned action be and hereby is dismissed with prejudice pursuant to Fed.
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     R. Civ. P. 41(a)(1) against Defendant Experian Information Solutions, Inc., and each
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     party shall bear their own attorneys' fees and costs of suit. This Court shall retain
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     jurisdiction of this matter as it pertains to Plaintiff’s claims against Defendant Experian
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     Information Solutions, Inc. only to the extent necessary to enforce the Parties’
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     settlement agreement.
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      Dated: January         23,2014
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                                             HON. JOSEPHINE STATON TUCKER
13                                           UNITED STATES DISTRICT COURT JUDGE
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